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                                                                                                                                                MANAGEMENT'S DISCUSSION AND ANALYSIS OF riNANCIAL CONDITION

                                                                                                                                                                    AND RESULTS OF OPERATIONS



TAB L£ e: AS^ S UKD£R CU STOOY Ali ttOR A OW.'il STRATI ON Br P ROCUC7"*


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TAQI. E 7: AS SETS UN D BR CUSTO DT AND.*OR AO«l Nl STRATtOH BY AS SCT CLA S S^’*


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